                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 3:13-00209
                                                 )          JUDGE CAMPBELL
JUAN COLLAZO                                     )

                                             ORDER

         The hearing, currently set for May 20, 2014, to consider Defendant Juan Collazo’s

Motion To Suppress Evidence (Docket No. 53) is CONTINUED until June 18, 2014, at 9:00

a.m.

         It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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